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, Case 6:22-mj-02242-LHP Document 8-2 Filed 12/02/22 Pagq@1 of 2 Pag&iDisttict Court

> Middle District of Florida
ORLANDO Division—
AO 442 (Rev. 01/09) Arrest Warrant
GOVERNMENT EXHIBIT

UNITED STATES DISTRICT COUR Exhibit No.2

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for the

jctry . Case No.: 6:22-mj-02242-
District of Columbia ase No.: 6:22-mj-02242-LHP

UNITED STATES OF AMERICA
United States of America

v. ) vs.
HOWARD 6. ADAMS Case No. 21CR358- HOWARD B. ADAMS
; Date Identified: l > —)--2-2-
Defendant Date Admitted: _ /D—3 -*#o-—
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) HOWARD B. ADAMS ateauteoe®
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment © Superseding Indictment 6 Information © Superseding Information © Complaint
© Probation Violation Petition © Supervised Release Violation Petition | © Violation Notice ao Order of the Court

This offense is briefly described as follows:
Failure to appear for scheduled court proceedings on November 10, 2022, and November 17, 2022.

Date: _ 14/17/2022 raga. Mew Clp .

v i
issuing officer's signature

City and state: Beryl A. Howell, Chief U.S. District Judge

Printed name and title

Return

This warrant was received on (date) _ \\ lol 22 , and the person was arrested on (date) lf of2z.
at (city and state) DCraytona, FL !

Date: _1| | 20(2z _ AA cg
tT Arresting officer's signature

Ss. Pittman Cit ssh
Printed name and title

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ae FINANCIAL AFFIDAVIT

Rev gal [\: SUPPORT OF REQUEST FOR ATTORNEY, EXPERT. OR OTHER SERVICES WITHOUT PAYMENT OF FEE
IN THE UNITED STATES DISTRIC] COURL O COURT OF APPEALS D OTHER (Specifi Below)
ioc FOR _ (LOCATION
IN THE CASE OF : |_ NUMBER
| AT ———" 7“
| Vv.
(0 PRE SOM REPRESENTED (Show vane diel es aey | 4 Defendant - Adult i DOCKE[ NUMBERS .
20) Defendant - Juvenite Magsstrate Judze
| Qu anc) A cl armnS 30 Appellant i oe
4 Probation Violator at Pent
—— 30 Supervised Release Violator, Mi FL-Orlanda =x.
[ 0 CHAP SEOPE ENE eorserihed appl oblene cueckter—7 ET Felony BE tiabeas Petitioner moun af Appeals
O Misdemeaner 70 2355 Peutioner
Case # 2D “tatersal Witness
| 9D Other (Specify
ANSWERS TO QUESTIONS REGARDING ABILITY TO PAY
Do you have a job? yes CINo |
-EMPLOYMENT IF YES, how much do you earn per month? J <agy |
Will you still have a job after this arrest?) (Yes [No TNinknown i
Do you own any of the following, and if so, what is it worth?
APPROXIMATE VALUE DESCRIPTION & AMOUNT OWED
INCOME ‘ Hame $ oe oe ee
a Sonn g PROPERTY —Car‘tivck Vehicle, oe . ee ee
Boat Ss oe _ _
iStocksbonds $e ee ee
Other propery $ 35,006 _.
CASH oo oo ie PS
& Do you have any cash, or money in savings or checking accounts? [] Yes (No
BANK Ee cies .
ACCOUNTS | IF YES, give the total approximate amount after monthly expenses $ _
How many people do you financially support? 2
BILLS & DEBTS MONTHLY EXPENSE TOTAL DEBT
| Housing $_ FOU 5 ee
Groceries $_. S$ _
| Medical expenses S_ S$ ee
OBLIGATIONS, Utilities $___ Hee Bc eemeocee
EXPENSES, & Credit cards $ $ _
DEBTS Car/Truck/Vehicle $_. oo $
Childcare $_ $ wg
Child support $ ee $ ee
Insurance 3 oe $
Loans $ a S$ -
Fines $ _ S
Other $ $

| certify under penalty of perjury that the foregoing is true and correct.

Defendant Slated We aid nok Want to shan

SIGNATURE OF DEFENDANT Date
(OR PERSON SEEKING REPRESENTATION)

